Case 1:17-cr-00101-LEK Document 488 Filed 05/23/19 Page 1 of 2   PageID #: 4290




   LARS ROBERT ISAACSON
   Hawaii Bar #5314
   1100 Alakea Street, 20th Floor
   Honolulu, Hawai’i 96813
   Phone: 808-497-3811
   Fax: 866-616-2132
   Standby Attorney for Defendant ANTHONY T. WILLIAMS

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       DEFENDANT’S “MOTION FOR
          Plaintiff,                   GOVERNMENT TO OUTLINE
                                       WHICH DEVICE(S) WERE
         v.                            SEARCHED THAT
                                       CONTAINED EVIDENCE
                                       SOUGHT WHICH RESULTED
   ANTHONY T. WILLIAMS,                IN 32 COUNTS OF MAIL AND
                                       WIRE FRAUD;”
          Defendant.                   DECLARATION OF COUNSEL;
                                       EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE


       “MOTION FOR GOVERNMENT TO OUTLINE WHICH
    DEVICE(S) WERE SEARCHED THAT CONTAINED EVIDENCE
     SOUGHT WHICH RESULTED IN 32 COUNTS OF MAIL AND
                       WIRE FRAUD”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides    Defendant’s    “MOTION      FOR     GOVERNMENT          TO
Case 1:17-cr-00101-LEK Document 488 Filed 05/23/19 Page 2 of 2   PageID #: 4291




   OUTLINE       WHICH      DEVICE(S) WERE SEARCHED                 THAT

   CONTAINED EVIDENCE SOUGHT WHICH RESULTED IN 32

   COUNTS OF MAIL AND WIRE FRAUD;” Declaration of Counsel;

   and Exhibit “A.”

      Dated: May 23, 2019

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
